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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                   Plaintiff,
             v.
                                                    Case No. 22CR11
JAMES BRETT

                   Defendant.


    MOTION TO FOR PERMISSION TO TRAVEL ON A CAMPING TRIP

      James Brett, through counsel, respectfully moves this Court for an Order

permitting him to go on a camping trip with his family from October 13 to 15, 2022.

He further moves for an Order allowing Mr. Brett local travel in the future, provided

it is preapproved by Pre-Trial Services and Mr. Brett abides by whatever restrictions

Pre-Trial requests. The government consents to each of these requests. In support of

this Motion counsel states:

      1. Mr. Brett is before the Court charged with various offenses related to his

         alleged participation in the events of January 6, 2021, at the U.S. Capitol.

         He was arrested on June 3, 2022, in Clearwater, Florida, where he resides.

      2. The government did not seek detention in this case. As for conditions of

         release, the government agreed that GPS monitoring or a curfew would be

         appropriate. Mr. Brett elected to be monitored via GPS. Accordingly, at the

         initial appearance in this matter, the Honorable Magistrate Judge Faruqui

         issued an Order placing Mr. Brett on GPS monitoring along with other
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   standard conditions of release. See ECF. No. 67. Recently, this Court

   granted Mr. Brett’s Motion to be placed on a curfew in lieu of GPS

   monitoring. See Minute Order, September 20, 2022.

3. Mr. Brett is 48 years old. He runs his own cleaning business. Detention was

   never an issue in this case. According to his probation officer, Mr. Brett has

   been compliant with his conditions of release.

4. Mr. Brett wishes to go on a camping trip with his family, in a rural area of

   Florida a few hours from his home. It is undersigned counsel’s

   understanding that because there no provision in his release Order

   permitting preapproved travel, Mr. Brett would need permission from the

   Court to attend the camping trip because he is on a curfew.

5. Undersigned counsel has consulted with the government who in turn

   consulted with Pre-Trial Services. The government consents to this request

   and represented that Pre-Trial Services indicated that Mr. Brett is on a

   curfew monitored by voice identification. Pre-Trial requests that Mr. Brett

   provide the itinerary for the camping trip prior to departure and that the

   Court advise whether the curfew may be temporarily suspended during the

   trip as Mr. Brett will not have access to a landline.

6. Going forward, undersigned counsel moves the Court to permit Mr. Brett

   to travel within the continental U.S. provided the travel is preapproved by

   Pre-Trial Services and Mr. Brett abides by whatever restrictions Pre-Trial

   requests, such as providing notice and an itinerary one week in advance.



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         This is an Order approved in many cases in which defendants are

         supervised outside the District of Columbia.

      7. The government consents to each of these requests.

      For the reasons stated herein and any others that appear to the Court, Mr.

Brett moves the Court to enter the attached Order permitting him to attend a family

camping trip and permitting preapproved local travel going forward.




                                            Respectfully submitted,

                                            A. J. Kramer
                                            Federal Public Defender

                                            ________/s/_________
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